                                  Exhibit B
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                      INDEX OF DOCUMENTS FILED
                        WITH REMOVAL ACTION

   CURTIS WILSON V. HI TORK POWER, INC., AND BRETT RAGGIO

        (a)   Plaintiff’s Original Petition;

        (b)   Demand for Jury Trial;

        (c)   Request for Citation on Brett Raggio;

        (d)   Request for Citation on Hi Tork Power, Inc.;

        (e)   Notice of Status Conference;

        (f)   Citation to Brett Raggio (Unserved);

        (g)   Executed Citation on Hi Tork Power, Inc.;

        (h)   Defendant Hi Tork Power, Inc.’s Original Answer;

        (i)   Defendant Hi Tork Power, Inc.’s Demand for Jury Trial; and

        (j)   Docket Sheet
                                                                                                              Filed
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                                                                                                 Dwight D. Sullivan
                                                                                                      County Clerk
                                                                                           Galveston County, Texas
                                                CV-0085645
                                 CAUSE NO. __________________

Curtis Wilson,                                  §             COUNTY COURT AT LAW
                                                §
       Plaintiff,                               §
                                                §
v.                                              §             NUMBER___________
                                                §
Hi Tork Power, Inc.                             § Galveston County - County Court at Law No. 1
and Brett Raggio                                §
                                                §
       Defendants.                              §             GALVESTON COUNTY, TEXAS

                              PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Curtis Wilson, (hereinafter “Plaintiff”), complaining of Hi Tork Power,

Inc. and Brett Raggio (hereinafter “Defendants”), and for cause of action would respectfully show

the Court the following:

                                                   I.

                                           Discovery Level

       1.        Discovery in this matter may be conducted under Level 2 of the Texas Rules of

Civil Procedure.

                                                   II.

                                       Jurisdiction and Venue

       2.        The claims asserted arise under the common laws of Texas. This Court has personal

jurisdiction over Defendants and venue is proper because at least one Defendant is a resident of

this County. See TEX. CIV. PRAC. & REM. CODE § 15.002.

                                                  III.

                                                Parties

       3.        Plaintiff is a resident of South Carolina.
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       4.      Defendant Hi Tork Power, Inc. (“Hi Tork”) a Texas company with its principal

place of business in Galveston County, Texas. This Defendant that may be served through its

registered agent of process, Jorge Tijerina, Sr. at 1330 Shrub Oak Dr., League City, TX 77573, or

wherever it may be found.

       5.      Defendant Brett Raggio (“Raggio”) is a resident of Louisiana. This Defendant can

be served with process at 103 Wilder Circle, Lafayette, LA 70508, or wherever he may be found.

                                                 IV.

                                               Facts

       6.      On or about October 14, 2019, Plaintiff suffered significant bodily injuries as a

result of Defendants’ negligence and gross negligence. Specifically, Plaintiff was traveling on

Interstate 20 in Texas, when suddenly, his vehicle was violently struck by Defendants’ vehicle.

Specifically, upon information and belief, Defendant Raggio failed to maintain his speed and

instead, slammed into the rear of Plaintiff’s vehicle. Upon information and belief, Defendant

Raggio was operating his vehicle while distracted at the time of this incident. Defendants’ vehicle

was owned by Defendant Hi Tork and was being driven by Defendant Raggio, an employee of

Defendant Hi Tork. At all relevant times, Defendant Raggio was acting in the course and scope of

his employment with Defendant Hi Tork, and acting in furtherance of a mission for Defendant Hi

Tork’s benefit and subject to its control.

       As a result of the incident in question, Plaintiff suffered severe injuries to his neck, back,

and other parts of his body. Plaintiff has sought medical treatment for these injures since the

incident, and will likely require significant medical treatment in the future.

                                                 V.

                                         Causes of Action

A.     Negligence and Gross Negligence Against All Defendants.

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       7.      Plaintiff repeats and realleges each allegation contained above.

       8.      Plaintiff sustained injuries because of Defendants’ negligence and gross negligence

when Defendants:

                  Failed to maintain a proper speed;

                  Failed to exercise caution;

                  Failed to pay attention to their surroundings;

                  Failed to maintain a single lane;

                  Failed to safely change lanes;

                  Failed to operate their vehicle safely;

                  Failed to keep a proper lookout;

                  Operated the vehicle while distracted;

                  Violated applicable rules, regulations and traffic laws;

                  Failed to train their driver; and

                  Other acts deemed negligent and grossly negligent.

       9.      Defendants owed a duty consistent with the foregoing and breached each of the

foregoing duties. These breaches were both the cause in fact and proximate cause of Plaintiff’s

injuries. As a result of Defendants’ negligence, Plaintiff suffered severe physical injury. Plaintiff

is entitled to recover for his injuries. Defendant Hi Tork is liable for the actions of their driver

under the theories of vicarious liability and ratification. Defendant Hi Tork is also liable for its

own grossly negligent hiring, training, retention, entrustment, supervision, and monitoring as

discussed below. Finally, Defendants’ actions were done with a reckless disregard to a substantial

risk of severe bodily injury. As such, Plaintiff is entitled to exemplary damages against both

Defendants.



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B.     Negligence Per Se Against All Defendants.

       10.      Plaintiff repeats and realleges each allegation contained above.

       11.      Defendants’ conduct described herein constitutes an unexcused breach of duty

imposed by Texas Transportation Code;

       12.      Plaintiff is a member of the class that the Texas Transportation Code is designed to

protect; and

       13.      Plaintiff’s injuries are of the class that Texas Transportation Code is designed to

protect.

               PLAINTIFF'S CLAIM OF RESPONDEAT SUPERIOR AGAINST
                               DEFENDANT HI TORK

       14.      At the time of the occurrence of the act in question and immediately prior thereto,

Defendant Raggio was within the course and scope of employment for Defendant Hi Tork.

       15.      At the time of the occurrence of the act in question and immediately prior thereto,

Defendant Raggio was engaged in the furtherance of Defendant Hi Tork's business.

       16.      At the time of the occurrence of the act in question and immediately prior thereto,

Defendant Raggio was engaged in accomplishing a task for which Defendant Raggio was

employed.

       17.      Plaintiff invokes the doctrine of Respondeat Superior as against Defendant Hi Tork.

                                            AGENCY

       18.      At and during the time of the acts and/or omissions complained of herein, any acts

and/or omissions committed by an agent, representative or employee of Defendant Hi Tork,

occurred within the scope of the actual or apparent authority of such person on behalf of this

Defendant.

       19.      Therefore, Defendant Hi Tork is liable to Plaintiff for the acts and/or omissions of



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any such agent, representative or employee complained of herein by virtue of such agency

relationship.

C.     Negligent Hiring (against Hi Tork)

       20.      Plaintiff repeats and realleges each allegation contained above.

       21.      Plaintiff sustained injuries as a result of Defendant’s negligent hiring because of

Defendant Hi Tork’s:

                   Failure to conduct a reasonable and adequate interview of Defendant Raggio as
                    a potential employee.

                   Failure to properly follow up on information not provided by Defendant Raggio
                    in the interview process.

                   Failure to conduct a proper employment and background check.

                   Failure to sufficiently investigate Defendant Raggio’s training, prior
                    employment, criminal record, and past.

                   Failure to perform the required screening, testing, and physical of Defendant
                    Raggio.

                   Failure to adopt proper policies and procedures regarding the interview of a
                    potential employee who will be driving a commercial vehicle on the highways
                    of the State of Texas.

                   Such other and further acts of negligence as may be shown in the trial of this
                    cause as discovery progresses.

D.     Negligent Training (against Hi Tork)

       22.      Plaintiff repeats and realleges each and every allegation contained above.

       23.      Plaintiff sustained injuries as a result of Defendant Hi Tork’s negligent training

because of Defendant Hi Tork’s:

                   Failure to explain and demonstrate its safety policies and procedures;

                   Failure to provide the necessary training to Defendant Raggio regarding driving
                    the vehicle, vehicle safety, safety classes, how to properly and safely drive the
                    vehicle, the proper method to maintain a vehicle, the proper way and necessity


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                  of keeping the vehicle clean and in proper working order, and in all matters
                  regarding the proper and safe operation of a vehicle and the maintenance of
                  vehicles in various situations;

                 Failure to train its drivers in all aspects of driver safety;

                 Failure to train its employees, including Defendant Raggio, regarding safe and
                  proper operation of a vehicle such as a person and/or company of ordinary care
                  would have done in the same or similar circumstance; and

                 Failure to provide and/or require regular follow-up driver education training.

                 Such other and further acts of negligence as may be shown in the trial of this
                  cause as discovery progresses.

E.     Negligent Supervision, Retention, and Monitoring (against Hi Tork)

       24.    Plaintiff repeats and realleges each allegation contained above.

       25.    Plaintiff sustained injuries as a result of Defendant Hi Tork’s negligent supervision,

retention and monitoring because of Defendant Hi Tork’s:

                 Failure to monitor Defendant Raggio to make sure that he was complying with
                  policies and procedures.

                 Failure to interview and test Defendant Raggio to make sure he had read, and
                  was familiar with, understood, and followed the company policies and
                  procedures.

                 Failure to implement proper policies and procedures for its employees,
                  including Defendant Raggio, regarding driver safety and vehicle safety.

                 Failure to document and make a determination regarding fault in the accident
                  made the basis of this suit.

                 Failure to supervise Defendant Raggio to insure that he was keeping the vehicle
                  properly maintained.

                 Such other and further acts of negligence as may be shown in the trial of this
                  cause as discovery progresses.

F.     Negligent Entrustment (against Hi Tork)

       26.    Plaintiff repeats and realleges each allegation contained above.



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       27.     Plaintiff sustained injuries as a result of Defendant Hi Tork’s negligent entrustment

because Defendant Hi Tork:

                  Provided a vehicle to Defendant Raggio who was not properly trained and did
                   not have the proper education, background, training, or experience to safely
                   operate the vehicle, and who was an incompetent and/or reckless driver.

G.     Ratification (against Hi Tork).

       28.     Plaintiff repeats and re-alleges each allegation contained above.

       29.     Defendant Hi Tork is responsible for the negligence and gross negligence of its

driver under the theory of ratification because Defendant Hi Tork:

                  Retained its driver after he committed the underlying tortious acts;

                  Knew of its driver’s tortious acts;

                  Recognized that its driver will likely continue to be negligent if he is
                   retained;

                  Recognized that its driver will likely continue to be grossly negligent if
                   he is retained;

                  Failed to take adequate measures to prevent its driver from committing
                   future tortious acts; and

                  Otherwise adopted, confirmed, or failed to repudiate its driver’s
                   negligent and grossly negligent conduct after Defendant Hi Tork gained
                   knowledge of the conduct.

       30.     As a result of Defendant Raggio’s negligent and grossly negligent conduct, which

Defendant Hi Tork ratified, Plaintiff suffered severe physical injury. Plaintiff is entitled to recover

for his injuries. Defendants’ actions were done with a reckless disregard to a substantial risk of

severe bodily injury. As such, Plaintiff is entitled to exemplary damages.

                                                 VI.

                                              Damages

       As a result of Defendants’ negligence, gross negligence and premises liability, Plaintiff has


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suffered and seeks recovery for the following in an amount in excess of $1,000,000.00

Specifically, Plaintiff, Curtis Wilson, was caused to suffer severe personal injuries, bodily injury,

physical impairment, loss of household services, pain, suffering, and mental anguish. Plaintiff

prays for relief and judgment as follows:

              Compensatory damages against Defendants;

              Actual damages;

              Consequential damages;

              Pain and suffering;

              Exemplary damages;

              Past and future mental anguish;

              Past and future impairment;

              Past and future disfigurement;

              Interest on damages (pre and post-judgment) in accordance with the law;

              Costs of Court;

              Expert witness fees;

              Costs of copies of depositions; and

              Such other and further relief as the Court may deem just and proper.

                                                 VII.

                                              Prayer

       Plaintiff prays that this citation issue and be served upon Defendants in a form and manner

prescribed by law, requiring that Defendants appear and answer, and that upon final hearing,

Plaintiff have judgment against Defendants, both jointly and severally, in a total sum in excess of

the minimum jurisdictional limits of this Court, pre-judgment and post-judgment interests, all costs



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of Court, exemplary damages, and all such other and further relief, to which he may show himself

justly entitled.

                                               VIII.

                                      Jury Trial Demanded

        Plaintiff hereby demands a trial by jury.

                                              Respectfully Submitted,

                                              ARNOLD & ITKIN LLP

                                              /s/ Kurt B. Arnold
                                              Kurt B. Arnold
                                              SBN: 24036150
                                              karnold@arnolditkin.com
                                              J. Kyle Findley
                                              SBN: 24076382
                                              kfindley@arnolditkin.com
                                              Kala F. Sellers
                                              SBN: 24087519
                                              ksellers@arnolditkin.com
                                              Adam D. Lewis
                                              SBN: 24094099
                                              alewis@arnolditkin.com
                                              6009 Memorial Drive
                                              Houston, TX 77007
                                              Tel: 713.222.3800
                                              Fax: 713.222.3850
                                              e-service@arnolditkin.com
                                              ATTORNEYS FOR PLAINTIFF




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                                  CAUSE NO. CV-0085645

CURTIS WILSON                                                         IN THE COUNTY COURT
                                                      
VS.                                                   
                                                                    AT LAW NUMBER ONE (1)
HI TORK POWER, INC. AND BRETT                         
RAGGIO                                                
                                                                  GALVESTON COUNTY, TEXAS
                                                      
                                                      



                                    JURY DEMAND

        On this day came the Plaintiff(s), herein by their attorney, and in open court

demand a jury and having paid the jury fee; It is Ordered, Adjudged and Decreed by the

court that this cause be and the same is placed on the jury docket for trial.



                                    Signed: 11/27/2019 12:16 PM

        Signed this, the         day of                             , A.D. 2019.




                                    _________________________________________
                                    John Grady, Presiding Judge
                                    County Court at Law No. 1
                                    Galveston County, Texas




                                                                                   Filed
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                                                                                   County Clerk
                                                                                   Galveston County, Texas
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                                                                                                                                      Dwight D. Sullivan
                        Dwight D. Sullivan                                                                                                 County Clerk
                                                                                                                                Galveston County, Texas
                        County Clerk Galveston County

                                                           REQUEST FOR ISSUANCE OF SERVICE
Date Requested:           11/25/2019                                               Galveston County - County Court at Law No. 1
                       CV-0085645
Case Number:                                                                                Court:

Type of Instrument to be served:                  Plaintiff's Original Petition

                        SERVICE TO BE ISSUED ON (Please list exactly as the name appears in the pleading to be served)
Issue Service To:             Brett Raggio

Address of Service:           103 Wilder Circle

City, State & Zip:            Lafayette, LA 70508

Agent (IF APPLICABLE)
                                                                  TYPE OF SERVICE TO BE ISSUED:
Non Writs:
     X Citation              Alias Citation              Pluries Citation            Citation by Publication       Secretary of State Citation
         Notice              Precept                     Rule 106 Service            Subpoena
Writs:
         Attachment (Person)                             Attachment (Property)       Order of Sale                 Certiorari
         Garnishment                                     Habeas Corpus               Injunction                    Temporary Restraining Order
         Possession (Person)                             Possession (Property)       Abstract of Judgment          Protective Order
         Scire Facias                                    Sequestration               Supersedeas

         Other (Please Describe):

UPON ISSUANCE OF SERVICE: (CHECK ONE ONLY)
    Send to Sheriff
Note: Citation(s) to be served by Constable will be RETURNED TO REQUESTOR to make arrangements to deliver and make payment for service
directly with the Constable
    Civil Process Server (Include the name of the Authorized Person to pick-up):
    Call attorney for pick up (Phone Number):
x Mail to attorney at:                                 6009 Memorial Drive, Houston, Texas 77007
(Please include a self addressed stamped envelope):


    County Clerk serve by certified mail
ISSUANCE OF SERVICE REQUESTED BY:
Attorney/Party Name:              Kurt Arnold

Law Firm (if applicable):           Arnold & Itkin, LLP                                              Bar Number:   24036150

Address:        6009 Memorial Drive, Houston, Texas 77007



Phone Number: 713-222-3800                                       Email Address: kbateam@arnolditkin.com
                                                      ***Service will only be issued upon payment of costs***
Date Fees Paid:                                               Amount:                         Method of Payment:

Signature of Attorney Requesting service:                  /s/ Kurt Arnold
                                                                                                                                                   Filed
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                        Dwight D. Sullivan                                                                                                 County Clerk
                                                                                                                                Galveston County, Texas
                        County Clerk Galveston County

                                                           REQUEST FOR ISSUANCE OF SERVICE
Date Requested:           11/25/2019                                               Galveston County - County Court at Law No. 1
Case Number:                   CV-0085645                                                   Court:

Type of Instrument to be served:                  Plaintiff's Original Petition

                        SERVICE TO BE ISSUED ON (Please list exactly as the name appears in the pleading to be served)
Issue Service To:          Hi Tork Power, Inc. c/o Jorge Tijerina Sr.

Address of Service:           1330 Shrub Oak Dr.

City, State & Zip:            League City, Texas 77573

Agent (IF APPLICABLE)         Jorge Tijerina Sr

                                                                  TYPE OF SERVICE TO BE ISSUED:
Non Writs:
     X Citation              Alias Citation              Pluries Citation            Citation by Publication       Secretary of State Citation
         Notice              Precept                     Rule 106 Service            Subpoena
Writs:
         Attachment (Person)                             Attachment (Property)       Order of Sale                 Certiorari
         Garnishment                                     Habeas Corpus               Injunction                    Temporary Restraining Order
         Possession (Person)                             Possession (Property)       Abstract of Judgment          Protective Order
         Scire Facias                                    Sequestration               Supersedeas

         Other (Please Describe):

UPON ISSUANCE OF SERVICE: (CHECK ONE ONLY)
    Send to Sheriff
Note: Citation(s) to be served by Constable will be RETURNED TO REQUESTOR to make arrangements to deliver and make payment for service
directly with the Constable
    Civil Process Server (Include the name of the Authorized Person to pick-up):
    Call attorney for pick up (Phone Number):
x Mail to attorney at:                                 6009 Memorial Drive, Houston, Texas 77007
(Please include a self addressed stamped envelope):


    County Clerk serve by certified mail
ISSUANCE OF SERVICE REQUESTED BY:
Attorney/Party Name:              Kurt Arnold

Law Firm (if applicable):           Arnold & Itkin, LLP                                              Bar Number:   24036150

Address:        6009 Memorial Drive, Houston, Texas 77007



Phone Number: 713-222-3800                                       Email Address: kbateam@arnolditkin.com
                                                      ***Service will only be issued upon payment of costs***
Date Fees Paid:                                               Amount:                         Method of Payment:

Signature of Attorney Requesting service:                  /s/ Kurt Arnold
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                                                                     Galveston County, Texas
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                                                                                                           County Clerk
                                                                                                Galveston County, Texas


                                     CAUSE NO. CV-0085645

CURTIS WILSON                                      §           IN THE COUNTY COURT
                                                   §
V.                                                 §           AT LAW NO. 1
                                                   §
HI TORK POWER, INC.                                §
AND BRETT RAGGIO                                   §           GALVESTON COUNTY, TEXAS

                                    DEFENDANT'S ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant HI TORK POWER, INC. files this Answer to Plaintiff’s Petition and all

subsequent supplemental and/or amended petitions filed against her and would respectfully show the

Court and Jury as follows:

                                                  I.

        Pursuant to the provisions of Rule 92 of the Texas Rules of Civil Procedure, Defendant

denies each and every, all and singular, the allegations contained in Plaintiff’s Petition, and demands

strict proof thereof.

                                                  II.

        Pleading further and in the alternative, Defendant asserts to the extent applicable that

Plaintiff’s negligence and negligent entrustment claims are improper as Brett Raggio was not acting

in the course and scope of employment with Defendant at the time of the accident; was not an

employee who was improperly trained or who lacked the proper education, background, training, or

experience to safely operate the vehicle; and was not an incompetent and/or reckless driver at the

time Defendant allegedly entrusted the subject vehicle to him. Defendant further denies that, to the

extent applicable, Defendant was aware that Brett Raggio was an incompetent and/or reckless driver

at the time Defendant allegedly entrusted the subject vehicle to him.
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                                                 III.

       With respect to Plaintiff’s negligence per se claim, that claim being expressly and wholly

denied, Defendant would show that the statutory bases of such claim are not ones for which tort

liability may be imposed when violated, do not establish or create a different standard than common

law ordinary care, and, to the extent applicable, were not the proximate cause of Plaintiff’s injuries

when allegedly violated.

                                                 IV.

       Pleading further and in the alternative, and with respect to Plaintiff’s gross

negligence/exemplary damages claim, that claim being expressly and wholly denied, Defendant

would show that Plaintiff’s injuries did not result from gross negligence attributable to Defendant.

                                                 V.

       Pleading further and in the alternative, and with respect to Plaintiff’s claim seeking punitive

or exemplary damages herein, Defendant asserts the limitations of Chapter 41 of the Civil Practice

and Remedies Code.

                                                 VI.

       For any claims for punitive damages and/or prejudgment interest, Defendant invokes the

limitations on punitive damages and prejudgment interest contained in Sections 41.007 and 41.008

of the Texas Civil Practices and Remedies Code. Pursuant to Section 41.008 of the Texas Civil

Practices and Remedies Code, such limitations may not be known to the jury.

                                                VII.

       Defendant reserves the right to amend this Answer pursuant to the said Rules of Civil

Procedure.
                                            Exhibit B
    Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 57 of 67



        For these reasons, Defendant prays that it be released and discharged of the charges filed

against it, that Plaintiff take nothing by reason of this suit, and for such other and further relief to

which Defendant may be justly entitled and for which Defendant will forever pray.

                                                Respectfully submitted,

                                                GERMER PLLC



                                                By:
                                                        GREGORY M. HOWARD
                                                        State Bar No. 24042989
                                                        ghoward@germer.com
                                                        2929 Allen Parkway, Suite 2900
                                                        Houston, Texas 77019
                                                        (713) 650-1313 – Telephone
                                                        (713) 739-7420 – Facsimile

                                                ATTORNEY FOR DEFENDANT,
                                                HI TORK POWER, INC.



                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on all counsel in
accordance with Rules 21 and 21a of the Texas Rules of Civil Procedure, on this 26th day of
February, 2020.




                                                GREGORY M. HOWARD
                                                                                         Exhibit B
                   Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 58 of 67

          Envelope ID :41171082


Case Number : CV-0085645


Case Type

 Jurisdiction : Galveston County - County Court at Law No. 1                                         Case Category : Civil – Injury or Damage

 Case Type : Motor Vehicle Accident                                                                  Filer Type : Not Applicable

 Payment Account : File & ServeXpress CC                                                             Attorney : Gregory Howard

 Case Number : CV-0085645

 Client Matter ID : 100943                                                                           Date Filed : 2/26/2020 01:33:36 PM




Parties            3

                Sending Party                                         Party Type                                           Name                                              Address

                                                    Defendant                                        Brett Raggio                                       103 Wilder Circle , Lafayette , Louisiana , 70508

                                                                                                                                                        Registered Agent - Jorge Tijerina, Sr. , 1330 Shr
                                                    Defendant                                        Hi Tork Power, Inc.
                                                                                                                                                        ub Oak Dr. , League City , Texas , 77573

                                                    Plaintiff                                        Curtis Wilson




Documents

                                                                 Original             Converted         Stamped                  Optional           Document              Document
    Status       Filing Code        Filing Description                                                                                                                                            Fees
                                                                Document              Document          Document                 Services           Category              Description

                 Answer/Res
 Submitted       ponse (Lead
                                Defendant's Answe        WILSON-Answer                                                                          Contains sensitive     Defendant's Answe
                 Document)                                                                                                                                                                   $0.00
 cancel                         r                        Hi Tork.pdf                                                                            data                   r
                 Note to Cler
                 k:

                 No Fee Docu
 Submitted       ments (Lead
                                Demand for Jury Tr       WILSON-Jury De                                                     Jury Fee(1 * $4     Contains sensitive     Demand for Jury Tri
                 Document)                                                                                                                                                                   $40.00
 cancel                         ial                      mand.pdf                                                           0.00)               data                   al
                 Note to Cler
                 k:




Responsible for Filing Fees : Hi Tork Power, Inc.
Send Accepted Notifications To:

Service Contact 6

                                                                                             Service Contact
      EServe                 Name             Email Address                 Address                                   Public                  Attached To              Status            Date Opened
                                                                                                   Fee

                                           azayas@germer.co
          No         Amber Zayas                                                                                           Yes          Hi Tork Power, Inc.                            Unopened
                                           m

                     Christine Hernan      chernandez@germ
          Yes                                                                                                              Yes          Hi Tork Power, Inc.     Sent                   Unopened
                     dez                   er.com
                                                                          Exhibit B
               Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 59 of 67
                                                                              Service Contact
    EServe            Name           Email Address          Address                             Public       Attached To                Status     Date Opened
                                                                                    Fee

                                   cdeleon@arnolditki
     Yes         Crystal DeLeon                                                                  Yes     Curtis Wilson           Sent            Unopened
                                   n.com

                                   cwallace@germer.c
      No         Cynthia Wallace                                                                 Yes     Hi Tork Power, Inc.                     Unopened
                                   om

                                   ghoward@germer.c
      No         Greg Howard                                                                     Yes     Hi Tork Power, Inc.                     Unopened
                                   om

                                   e-service@arnolditk
     Yes         Kurt Arnold                                                                     Yes     Curtis Wilson           Sent            Unopened
                                   in.com




Fees Calculation

Allowance Charge Reason                                                                                              Amount

                                                                 Case Initiation Fee($)                                  $0.00

                                                               Optional Service Fee($)                                $40.00

                                                                 Total Service Fees($)                                   $0.00

                                                             Total Service Tax Fees($)                                   $0.00

                                                                  Convenience Fee($)                                     $1.23

                                                         Total Provider Service Fees($)                                  $2.24

                                                            Total Provider Tax Fees($)                                   $0.18

                                                           Total Court Service Fees($)                                   $0.00

                                                             Total Mail Service Fees($)                                  $0.00

                                                                         Total Fees($)                                $43.65
                                                                                                            Filed
                                           Exhibit B
     Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 60 of 67                  2/26/2020 1:33 PM
                                                                                               Dwight D. Sullivan
                                                                                                    County Clerk
                                                                                         Galveston County, Texas


                                    CAUSE NO. CV-0085645

CURTIS WILSON                                       §         IN THE COUNTY COURT
                                                    §
V.                                                  §         AT LAW NO. 1
                                                    §
HI TORK POWER, INC.                                 §
AND BRETT RAGGIO                                    §         GALVESTON COUNTY, TEXAS

                                 DEMAND FOR JURY TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, HI TORK POWER, INC., Defendant herein and demands a trial by

jury. The requisite jury fee has already been paid by Plaintiff.

        WHEREFORE, PREMISES CONSIDERED, Defendant requests that the Court grant a

trial by jury.

                                              Respectfully submitted,

                                              GERMER PLLC



                                              By:
                                                        GREGORY M. HOWARD
                                                        State Bar No. 24042989
                                                        ghoward@germer.com
                                                        2929 Allen Parkway, Suite 2900
                                                        Houston, Texas 77019
                                                        (713) 650-1313 – Telephone
                                                        (713) 739-7420 – Facsimile

                                              ATTORNEY FOR DEFENDANT,
                                              HI TORK POWER, INC.
                                        Exhibit B
   Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 61 of 67



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on all
counsel in accordance with Rules 21 and 21a of the Texas Rules of Civil Procedure, on this 26th
day of February, 2020.




                                           GREGORY M. HOWARD
                                                                                         Exhibit B
                   Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 62 of 67

          Envelope ID :41171082


Case Number : CV-0085645


Case Type

 Jurisdiction : Galveston County - County Court at Law No. 1                                         Case Category : Civil – Injury or Damage

 Case Type : Motor Vehicle Accident                                                                  Filer Type : Not Applicable

 Payment Account : File & ServeXpress CC                                                             Attorney : Gregory Howard

 Case Number : CV-0085645

 Client Matter ID : 100943                                                                           Date Filed : 2/26/2020 01:33:36 PM




Parties            3

                Sending Party                                         Party Type                                           Name                                              Address

                                                    Defendant                                        Brett Raggio                                       103 Wilder Circle , Lafayette , Louisiana , 70508

                                                                                                                                                        Registered Agent - Jorge Tijerina, Sr. , 1330 Shr
                                                    Defendant                                        Hi Tork Power, Inc.
                                                                                                                                                        ub Oak Dr. , League City , Texas , 77573

                                                    Plaintiff                                        Curtis Wilson




Documents

                                                                 Original             Converted         Stamped                  Optional           Document              Document
    Status       Filing Code        Filing Description                                                                                                                                            Fees
                                                                Document              Document          Document                 Services           Category              Description

                 Answer/Res
 Submitted       ponse (Lead
                                Defendant's Answe        WILSON-Answer                                                                          Contains sensitive     Defendant's Answe
                 Document)                                                                                                                                                                   $0.00
 cancel                         r                        Hi Tork.pdf                                                                            data                   r
                 Note to Cler
                 k:

                 No Fee Docu
 Submitted       ments (Lead
                                Demand for Jury Tr       WILSON-Jury De                                                     Jury Fee(1 * $4     Contains sensitive     Demand for Jury Tri
                 Document)                                                                                                                                                                   $40.00
 cancel                         ial                      mand.pdf                                                           0.00)               data                   al
                 Note to Cler
                 k:




Responsible for Filing Fees : Hi Tork Power, Inc.
Send Accepted Notifications To:

Service Contact 6

                                                                                             Service Contact
      EServe                 Name             Email Address                 Address                                   Public                  Attached To              Status            Date Opened
                                                                                                   Fee

                                           azayas@germer.co
          No         Amber Zayas                                                                                           Yes          Hi Tork Power, Inc.                            Unopened
                                           m

                     Christine Hernan      chernandez@germ
          Yes                                                                                                              Yes          Hi Tork Power, Inc.     Sent                   Unopened
                     dez                   er.com
                                                                          Exhibit B
               Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 63 of 67
                                                                              Service Contact
    EServe            Name           Email Address          Address                             Public       Attached To                Status     Date Opened
                                                                                    Fee

                                   cdeleon@arnolditki
     Yes         Crystal DeLeon                                                                  Yes     Curtis Wilson           Sent            Unopened
                                   n.com

                                   cwallace@germer.c
      No         Cynthia Wallace                                                                 Yes     Hi Tork Power, Inc.                     Unopened
                                   om

                                   ghoward@germer.c
      No         Greg Howard                                                                     Yes     Hi Tork Power, Inc.                     Unopened
                                   om

                                   e-service@arnolditk
     Yes         Kurt Arnold                                                                     Yes     Curtis Wilson           Sent            Unopened
                                   in.com




Fees Calculation

Allowance Charge Reason                                                                                              Amount

                                                                 Case Initiation Fee($)                                  $0.00

                                                               Optional Service Fee($)                                $40.00

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                                                             Total Service Tax Fees($)                                   $0.00

                                                                  Convenience Fee($)                                     $1.23

                                                         Total Provider Service Fees($)                                  $2.24

                                                            Total Provider Tax Fees($)                                   $0.18

                                                           Total Court Service Fees($)                                   $0.00

                                                             Total Mail Service Fees($)                                  $0.00

                                                                         Total Fees($)                                $43.65
                                                 Exhibit B
 Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 64 of 67

Case Information




CV-0085645                  County Court at Law      Grady, John
                            No. 1

11/25/2019                  Injury or Damage -       Filed/Open
                            Motor Vehicle




Party


                                                                    
Wilson, Curtis                                       Lead Attorney
                                                     Arnold, Kurt B.
                                                     Retained




                                                                   
Hi Tork Power, Inc.                                  Lead Attorney
Address                                              Howard, Gregory
Registered Agent - Jorge Tijerina, Sr.               M.
1330 Shrub Oak Dr.                                   Retained
League City TX 77573




Raggio, Brett

Address
103 Wilder Circle
Lafayette LA 70508
                                          Exhibit B
Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 65 of 67

Events and Hearings


                                    




                                




                     




   PAID


                     




   PAID


                                    




                                




                            



 Private Process Server


 In Person

 Private Process Server


 02/03/2020 12:51 PM

 Private Process Server


 In Person

 Mailed to attorney 6009 Memorial Drive, Houston, Texas 77007
                                            Exhibit B
Case 3:20-cv-00063 Document 1-2 Filed on 02/28/20 in TXSD Page 66 of 67


                            




   Demand For Jury Trial



                                



 Grady, John, Grady, John


 1:30 PM




Financial


    Total Financial Assessment                              $323.00
    Total Payments and Credits                              $323.00


11/26/2019    Transaction                                  $297.00
              Assessment

11/26/2019    Payment               Receipt #   Wilson,   ($297.00)
                                    2019-       Curtis
                                    21526-CC

11/26/2019    Transaction                                   $13.00
              Assessment

11/26/2019    Payment               Receipt #   Wilson,    ($13.00)
                                    2019-       Curtis
                                    21545-CC

11/26/2019    Transaction                                   $13.00
              Assessment

11/26/2019    Payment               Receipt #   Wilson,    ($13.00)
                                    2019-       Curtis
                                    21546-CC


    Total Financial Assessment                               $40.00
Case
   Total Payments and Credits         Exhibit B
     3:20-cv-00063 Document 1-2 Filed on 02/28/20
                                            $40.00
                                                   in TXSD Page 67 of 67


2/26/2020   Transaction                            $40.00
            Assessment

2/26/2020   Payment       Receipt #     Hi Tork   ($40.00)
                          2020-         Power,
                          1700-CC       Inc.




Documents
